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                        IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                       )
                                                )
Plaintiff,                                      )    CRIMINAL NO. 17-965 JB
                                                )
vs.                                             )
                                                )
KIRBY CLEVELAND,                                )
                                                )
Defendant.                                      )




  WITHDRAWAL OF NOTICE OF INTENTION TO SEEK THE DEATH PENALTY

        The United States of America, by and through its attorneys, John C. Anderson, United

States Attorney for the District of New Mexico, and Michael D. Murphy and Letitia Simms,

Assistant United States Attorneys for said district, hereby gives notice pursuant to 18 U.S.C. §

3593(a) that it withdraws the Notice of Intention to Seek the Death Penalty filed January 26,

2018 (Doc. 39).



                                           Respectfully submitted,

                                          JOHN C. ANDERSON
                                          United States Attorney

                                           Electronically filed November 19, 2018
                                           MICHAEL D. MURPHY
                                           LETITIA SIMMS
                                           Assistant United States Attorneys
                                           P.O. Box 607
                                          Albuquerque, New Mexico 87102
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I hereby certify that on November 19, 2018
I filed the foregoing electronically through
the CM/ECF system, which caused counsel for
the Defendant to be served by Electronic means,
as more fully reflected on the Notice of Electronic
Filing.


Electronically filed November 19, 2018
MICHAEL D. MURPHY
Assistant United States Attorney




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